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                        EXHIBIT B
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        A written statement of Dr. Dormady’s opinions for this case is set forth below, and his
curriculum vitae is attached. Dr. Dormady’s opinions are based upon his research and experience,
which are described in the attached curriculum vitae.
•   Dr. Dormady will provide helpful background information and context about energy
    policy; he will testify regarding energy markets, generally, including how energy is
    generated, distributed, priced and sold to consumers in Ohio.

       o Dr. Dormady will explain how energy rates are set for Ohio consumers for energy
         including generation, transmission, distribution, and supplemental charges and riders.
         Energy consumers receive a monthly bill, which is comprised of multiple components,
         including generation charges, transmission charges, and distribution charges. Dr.
         Dormady will explain the difference between these charges, as well as how the
         wholesale energy market affects the retail price of energy paid by consumers. In
         addition, Dr. Dormady will explain that the generation charges on a typical consumer’s
         bill can either be based on the Standard Service Offer (SSO) or through a Competitive
         Retail Electric Service (CRES) provider. He will explain that SSO rates are set through
         Competitive Bidding Process (CBP) procurement auctions that are guided by rules set
         by the Public Utilities Commission of Ohio’s (PUCO) Electric Security Plan (ESP)
         process.

       o Dr. Dormady will explain the types of energy generation, including the sources of
         energy generation in Ohio. Dr. Dormady also will explain the ownership and regulation
         of various power plants in Ohio, including the nuclear power plants owned by
         FirstEnergy Solutions (now Energy Harbor) and regulated by the Federal Energy
         Regulatory Commission (FERC). He will explain how generation units (power plants
         such as the nuclear plants) sell their energy into competitive wholesale markets through
         the regional power grid (the PJM Interconnection). And, he will explain how these
         power plants receive revenue through the sale of energy and related services (e.g.,
         capacity, ancillary services) into the PJM marketplace. Additionally, he will explain
         how generation affiliates like Energy Harbor receive revenue from participation in both
         the wholesale and retail marketplaces.

       o Dr. Dormady will explain how energy generation differs from the energy transmission
         and distribution system, including ownership and regulation of the transmission and
         distribution system in Ohio. Dr. Dormady will explain how the PUCO regulates energy
         distribution in Ohio, how FERC regulates transmission, and how rates are set for Ohio
         consumers for energy transmission and distribution.

       o Dr. Dormady will testify about the deregulation (often called ‘restructuring’) of energy
         systems and markets in Ohio through SB 3 in 1999, and later SB 221 in 2008. He also
         will discuss how deregulation has affected energy markets and consumers leading up
         to 2019. Dr. Dormady will testify that prior to restructuring, Ohio electric utilities were


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        predominately vertically integrated natural monopolies regulated by the PUCO.
        Through deregulation, Ohio sought to unbundle generation from distribution and
        transmission.

     o Dr. Dormady will explain how Ohio’s restructuring process required only corporate
       separation (or unbundling) of generation assets, rather than functional separation, and
       how this has led to perverse economic incentives and adverse consumer impacts. He
       will explain how corporate separation enabled these utilities to essentially sell or
       reassign their power plants to arms-length subsidiary corporations, over which the
       regulated utilities’ parent corporations, maintained ownership. Dr. Dormady also will
       explain that while corporate separation was being implemented, natural gas commodity
       prices (which he will explain are critically important in influencing both the wholesale
       and retail price of electricity) decreased. While that decrease has driven down the cost
       of energy in general, these cost decreases have not been efficiently reflected in the
       utility bills paid by Ohio consumers. (Another way to say this is that they have not
       adequately reflected price trends in the wholesale market, which is what deregulation
       was intended to do.) Rather, the PUCO has permitted distribution companies to recover
       lost profits for their corporately separated arms-length generation affiliate companies
       through riders and surcharges added to the utility bills paid by Ohio consumers. A
       significant cause of these lost profits, that they were permitted to recover from
       consumers in this way, was that these plants (which were primarily not fueled by
       natural gas) could not compete with the natural gas plants that were more favorably
       affected by the lower price of natural gas at the time. Consequently, Ohio residential
       and commercial consumers in most areas were actually charged a significantly higher
       rate for energy overall than they would have been charged in the absence of these riders
       that cross-subsidized the utilities’ arms-length affiliates.

     o As noted above, Dr. Dormady will explain how entities involved in energy generation,
       transmission, and distribution are regulated. Thus, in the context of his testimony, Dr.
       Dormady will provide the jury with general, background information about Federal
       Energy Regulatory Commission (FERC), PJM Interconnection (PJM) the Public
       Utilities Commission of Ohio (PUCO), and their relationship with Ohio utilities, in
       terms of their mission, organization, structure, and operation.


     I approve the content contained within this disclosure.




                                                               ____________________________
                                                                         Noah Dormady, Ph.D.
                                                                              August 26, 2022

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                   College-Level Service:
                     1. Diversity, Equity & Inclusion Committee (2019-2021)
                     2. Undergraduate Policy Paper Award Committee (2020-2021)
                     3. Undergraduate Science, Engineering & Public Policy Minor Committee
                         (2020-Present)
                     4. Budget & Strategic Planning (2018-2019)
                     5. Graduate Studies/Curriculum Committee (2017-2019; 2021-2022)
                     6. Wellness Committee (2018-2019)
                     7. Rewards & Recognition Committee (2017-2018)
                     8. Robert Backoff Research Award Committee (2012-2016; 2018)
                     9. Masters Examination Review Committee (2014; 2016-2017; 2018; 2022)
                     10. Glenn College Faculty Search Committee (2016-2017)
                     11. Curriculum Development Committee: Program Evaluation & Public Policy
                         Analysis (2013)
                     12. (Ad hoc) Appointment, Promotion & Tenure (APT) Review (2014-2015)
                     13. School of Environment & Natural Resources Search Committee (2014-2015)
                     14. Discovery Themes Research Advisory Committee (2014-2015)

                   Student Club Advising:
                       1. Advisor, OSU Hope Worldwide Club (2019-Present)




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